 4:05-cr-03032-RGK-DLP   Doc # 50   Filed: 06/13/05   Page 1 of 1 - Page ID # 91



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,            )
                                     )
                Plaintiff,           )
                                     )                4:05CR3032
           v.                        )
                                     )
RICARDO PERALES,                     )
SILVANO MICHEL and                   )                   ORDER
JESSICA YVONNE SERVIN,               )
                                     )
                Defendant.           )
                                     )




     Defendants have informed the court that they will not at
this time enter guilty pleas.

     IT THEREFORE HEREBY IS ORDERED,

     1. The change of plea hearings that were set for July 13 as
to all defendants are cancelled.

     2. An evidentiary hearing on defendants’ motions to
suppress evidence, filings 21, 22, 34 and 39, will be held before
the undersigned on July 27, 2005 at 9:30 a.m. in Courtroom #2,
United States Courthouse and Federal Building, 100 Centennial
Mall North, Lincoln, Nebraska. The hearing is scheduled for a
duration of six hours. In the event counsel believe additional
time is or may be necessary, they should contact my courtroom
deputy as soon as practicable.

     3. Copies of all exhibits expected to be offered into
evidence during the hearing, except those to be used for
impeachment only, shall be delivered to the chambers of the
undersigned at least two working days prior to the hearing.

     DATED this 13th day of June, 2005.

                                    BY THE COURT:


                                    s/   David L. Piester
                                    David L. Piester
                                    United States Magistrate Judge
